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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

STATE OF TEXAS, et al.                                    )
                                                          )
                           Petitioners,                   )
                                                          )       Case No. 23-60069
                           v.                             )
                                                          )
UNITED STATES ENVIRONMENTAL                               )
PROTECTION AGENCY and MICHAEL S.                          )
REGAN, Administrator, United States                       )
Environmental Protection Agency,                          )
                                                          )
                           Respondents.                   )


 UNOPPOSED JOINT MOTION OF MISSISSIPPI PETITIONERS FOR
EXTENSION OF TIME TO RESPOND TO RESPONDENTS’ OPPOSED
                 MOTION TO TRANSFER
      Pursuant to Federal Rule of Appellate Procedure 26(b) and Fifth Circuit Rule

27.1.1, Petitioners State of Mississippi, Mississippi Department of Environmental

Quality (“MDEQ”), and Mississippi Power Company (“MPC”) (together, “Mississippi

Petitioners”) jointly file this unopposed motion requesting that the Court grant an

extension of time, until April 3, 2023, for Mississippi Petitioners to file their responses

to Respondents’ Opposed Motion to Transfer the Petitions for Review to the D.C.

Circuit or Dismiss Based on Improper Venue (“Venue Motion”).




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      Pursuant to Fifth Circuit Rule 27.4, Mississippi Petitioners have conferred

regarding this motion with counsel for the other parties. No party opposes the motion.1

This motion is made for good cause and in the interest of justice and not for delay.

      In support of this motion, Mississippi Petitioners state as follows:

1.    This case involves petitions for review filed by Mississippi, MDEQ, and MPC

challenging the U.S. Environmental Protection Agency’s (“EPA”) decision to

disapprove portions of Mississippi’s Clean Air Act state implementation plan (“SIP”)

addressing the interstate transport requirements of 42. U.S.C. § 7410(a)(2)(D)(i)(I) for

the 2015 8-hour ozone National Ambient Air Quality Standards (“NAAQS”). See 88

Fed. Reg. 9,336, 9,383 (Feb. 12, 2023) (“SIP Rule”). The Mississippi Petitioners seek

review only of EPA’s disapproval of Mississippi’s SIP, even though, in addition to

EPA’s disapproval of the Mississippi SIP, the SIP Rule also included other separate,

individualized disapprovals of SIPs submitted by other states, including Texas and

Louisiana.

2.    On February 13, 2023, the State of Texas, the Texas Commission on

Environmental Quality (“TCEQ”), and several industry parties (together, “Texas

Petitioners”) filed petitions for review in this Court, challenging the portion of the SIP




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 Louisiana Petitioners have represented to the undersigned counsel that they support
this motion; Counsel for EPA has represented to the undersigned counsel that
Respondents do not oppose the requested extension; and Texas Petitioners have stated
to the undersigned counsel that they take no position.

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Rule which disapproved the Texas SIP; Texas Petitioners assert that venue is proper in

this Court. Docs. 1-1, 3-1, 5-1.

3.    On March 15, 2023, Respondents filed their Venue Motion, contending venue

for review of the Texas petitions is proper in the D.C. Circuit. Doc. 50. The Venue

Motion was served via ECF to the docketed parties, but at that time, the Texas

Petitioners were the only petitioners in this case (Case No. 23-60069).

4.    On March 16, 2023, the Court docketed the State of Mississippi and MDEQ’s

timely Petition for Review of the SIP Rule as it pertains to EPA’s disapproval of

Mississippi’s interstate transport SIP. Doc. 52-1 (challenging only the part of the SIP

Rule applicable to Mississippi). The Court docketed that petition with this case (Case

No. 23-60069). Id.

5.    On March 17, 2023, the Court docketed Mississippi Power Company’s timely

Petition for Review of the SIP Rule as it pertains to EPA’s disapproval of Mississippi’s

interstate transport SIP. Doc. 58-1 (challenging only the part of the SIP Rule applicable

to Mississippi). The Court docketed that petition with this case (Case No. 23-60069).

Id.

6.    On March 20, 2023, the Court docketed the State of Louisiana and the Louisiana

Department of Environmental Quality’s (“Louisiana Petitioners”) timely Petition for

Review of the SIP Rule as it pertains to EPA’s disapproval of Louisiana’s interstate

transport SIP. Doc. 63-1 (challenging only the part of the SIP Rule applicable to

Louisiana). The Court docketed that petition with this case (Case No. 23-60069). Id.

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7.    Additionally, on March 20, 2023, Respondents filed a letter with the Court

seeking “to clarify and inform this Court that the Venue Motion applies to all petitions

for review that are filed in this docket, including those that have been or are filed after

the filing of EPA’s Venue Motion”—apparently referring to Louisiana and Mississippi

Petitioners’ aforementioned petitions for review. Doc. 70. Respondents’ letter also

claims that all petitions for review in this docket “are of the same final rule promulgated

by EPA.” Id.

8.    Mississippi Petitioners were not parties to this case when the Venue Motion was

filed on March 15th and, therefore, were not served with EPA’s Venue Motion.

Mississippi Petitioners were not aware the Venue Motion may apply to them until

Respondents filed their letter on March 20th.

9.    Mississippi Petitioners are challenging the disapproval of the Mississippi SIP,

which appears in the same notice as other SIP disapprovals, but Mississippi Petitioners

do not agree with Respondents that all petitioners are challenging “the same final rule.”

Doc. 70.

10.   Pursuant to Federal Rule of Appellate Procedure 27, responses to motions are

due 10 days after service. As mentioned above, Mississippi Petitioners were not served

the Venue Motion.

11.   Mississippi Petitioners contacted the Court Clerk to seek clarification of their

deadline for responding to the Venue Motion, assuming it applied to their petitions as



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Respondents assert in the March 20th letter, and were instructed to file a motion for an

extension of time to respond.

12.    Mississippi Petitioners request in this motion an extension of time until April 3,

2023, to file their responses to the Venue Motion.

13.   This extension of time is necessary to allow the parties adequate time to prepare

responses to Respondents’ Venue Motion. The Venue Motion raises significant legal

issues and time to respond which is more consistent with the time available under the

Federal Rules of Appellate Procedure will allow Mississippi Petitioners to adequately

develop and present their arguments to the Court.

      For the reasons set out above, Mississippi Petitioners respectfully request the

Court grant this motion and allow them to file responses to the Venue Motion on or

before April 3, 2023.

                                        Respectfully submitted,


                                        s/ Justin L. Matheny

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Dated: March 23, 2023




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                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel states that this motion complies with Fed. R. App. P.

27(d)(2)(A) because it contains 951 words, excluding the caption and signature blocks,

as counted by a word processing system and, therefore, is within the word limit. This

motion also complies with typeface requirements of Fed. R. App. P. 27(d)(1)(E) because

it has been prepared in a proportionally spaced typeface in 14-point Garamond font.


Dated: March 23, 2023


                                       s/ C. Grady Moore III
                                       C. Grady Moore III
                                       Counsel for Petitioner Mississippi
                                       Power Company




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                         CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record who have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system.

Dated: March 23, 2023




                                      s/ C. Grady Moore III
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                                      Counsel for Petitioner Mississippi
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